               Case: 5:07-cr-00049-JMH                   Doc #: 263       Filed: 10/09/07             Page: 1 of 6 - Page ID#:
% A 0 245B    (Rev. 06/05) Judgment in a Criminal Case                  530
              Sheet 1



                                         UNITEDSTATESDISTRICTCOURT
                       EASTERN                                    District of                               KENTUCKY
          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                     V.
         WILBER PENALOZA-CASTILLO
                                                                         Case Number:                      LEXINGTON 5:07-cr-49-1 -JMH
                                                                         USM Number:                                11584-032



THE DEFENDANT:
X pleaded guilty to count(s)        1 (lesser included offense)
0 pleaded nolo contendere to count(s)
                                                                                                                HI L   t   m   N
   which was accepted by the court.                                                                           LESLIE G WHITMER
                                                                                                          CLERK U S DISTRICT COURT
0was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title 8t Section                 Nature of Offense                                                         Offense Ended               Count
21 U.S.C. 846                    Conspiracy to possess with intent to dstribute cocaine,                   3/5/07                  1
                                  a Schedule I1 Controlled substance; distribution of
                                  cocaine; & using communication facility, to wit, a
                                  telephone, in commission and facilitation of commission
                                  of a felony drug offense (lesser included offense)

       The defendant is sentenced as provided in pages 2 through                6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0The defendant has been found not guilty on count(s)
X Count(s)      2,9, & 10                                0 is     X are dismissed on the motion of the United States.
         It is ordered that the defendant,mustnotify the United States attorney for this district within 30 da s of any change ofname, resjdence,
or mailing address until all fines, restitution, costs, and special assessmentsimposed by thisjudgment are f d y paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economc clrcumstances.

                                                                         October 9.2007
                                                                         Date of Imposition of Judgment


                                                                                     *L.t4.m-d
                                                                         $gnat&e of Judge




                                                                         JOSEPH M. HOOD. CHIEF UNITED STATES DISTRICT JUDGE
                                                                         Name and Title of Judge


                                                                         October 9,2007
                                                                         Date
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                                                                           531
A 0 2458      (Rev. 06/05) Judgment in Criminal Case
              Sheet 2 - Imprisonment
                                                                                                         Judgment-Page      2   of   6
    DEFENDANT:                   PENALOZA-CASTILLO, Wilber
    CASE NUMBER                  LEXINGTON 5:07-cr-49-1-JMH

                                                                IMPRISONMENT

             The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
    total term of:

    SIXTY (60) MONTHS



     X      The court makes the following recommendations to the Bureau of Prisons:
            The Court recommends that the defendant be designated to the Federal Medical Center at Lexington, Kentucky.




     X      The defendant is remanded to the custody of the United States Marshal.

     0      The defendant shall surrender to the United States Marshal for this district:
            0 at                                       0 a.m.      0 p.m.       on

            0 as notified by the United States Marshal.

     0      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            0 before 2 p.m. on
            0 as notified by the United States Marshal.
            0 as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
    I have executed this judgment as follows:




            Defendant delivered on                                                           to

a                                                       , with a certified copy of this judgment.


                                                                                                       UNITED STATES MARSHAL


                                                                              BY
                                                                                                    DEPUTY UNITED STATES MARSHAL
                  Case: 5:07-cr-00049-JMH                  Doc #: 263       Filed: 10/09/07           Page: 3 of 6 - Page ID#:
A 0 245B       (Rev. 06/05). Judgment in a Criminal Case
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                                -
               Sheet 3 - Supervised Release
                                                                                                           Judgment-Page      3     of          6
 DEFENDANT:                     PENALOZA-CASTILLO,Wilber
 CASE NUMBER:                   LEXINGTON 5:07-cr-49-1-JMH
                                                           SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

 THREE (3) YEARS



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 O The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
 X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 0 The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 0 The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
          student, as directed by the probation officer. (Check, if applicable.)
 0        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule oflpayments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month,
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the progation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
 13)       as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by fhe defendant's criminal
           record or persona? history or characterisbcs and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requuement.
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A 0 2458     (Rev. 06/05) Judgment in a Criminal Case                533
             Sheet 3C - Supervised Release
                                                                                            Judgment-Page   4   of      6
DEFENDANT:                  PENALOZA-CASTILLO, Wilber
CASE NUMBER                 LEXINGTON 5:07-cr-49-1-JMH

                                           SPECIAL CONDITIONS OF SUPERVISION

The defendant shall not possess a firearm, destructive device, or dangerous weapon.

If the defendant is deported, he shall not re-enter the United States without the permission of the U.S. Bureau of
Immigration and Customs Enforcement and/or the Attorney General. However, if he would re-enter the United
States during the term of supervision, he must report to the closest U. S. Probation Offices for service of
supervision.




                                                          A ChWOWZEDGMENT

Upon a finding of a violation ofprobation or su ervised release, I understand that the Court may (I) revoke supervision, (2)
extend the term of supervision, and/or (3) mod& the conditions of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



(Signed)
           (Defendant)                                                           Date



           U. S. Probation Officermesignated Witness                             Date
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           Sheet 5 -Criminal Monetary Penalties                            534
                                                                                                     Judgment-Page        5    of        6
DEFENDANT:                         PENALOZA-CASTILLO, Wilber
CASE NUMBER:                       LEXINGTON 5:07-cr-49-1
                                                        -JMH
                                           CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                          -
                                                                           Fine                             Restitution
TOTALS             $   100.00                                          $                                $


 0 The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case(A0245C) will be entered
     after such determination.

 0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each pa ee shall receive an approximate1 ro ortioned ayment, unless specified otherwise in
     the priority order or percentage payment column gelow. However, pursuant to 18
     before the United States is paid.
                                                                                             vS.6.
                                                                                            5 3664&, all nonfederal victims must be paid

Name of Pavee                                  Total Loss*                        Restitution Ordered                Prioritv or Percentage




TOTALS                               $                            0          $                          0


0     Restitution amount ordered pursuant to plea agreement $

0     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date ofthe judgment, pursuant to 18 U.S.C. 8 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. Ej 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           the interest requirement is waived for the          0 fine 0 restitution.
      0 the interest requirement for the              0 fine    0 restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, llO,llOA, and 1 13A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
A 0 2458
              Case:
           (Rev.         5:07-cr-00049-JMH
                 06/05) Judgment in a Criminal Case    Doc #: 263        Filed: 10/09/07           Page: 6 of 6 - Page ID#:
           Sheet 6 - Schedule of Payments                              535
                                                                                                       Judgment-Page        6     of          6
DEFENDANT:                 PENALOZA-CASTILLO, Wilber
CASE NUMBER:               LEXINGTON 5:07-cr-49-1-JMH

                                                      SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetaq penalties are due as follows:

 A    x Lump sum payment of $           100.00              due immediately, balance due

                 not later than                                 , or
           0     inaccordance         0 C,       IJ D,      0     E,or          Fbelow; or

 B    0 Payment to begin immedately (may be combined with                0 C,       0 D, or     0 F below); or
 C    c] Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D    IJ Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    0 Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F    X Special instructions regarding the payment of criminal monetary penalties:
           Criminal monetary penalties are payable to:
           Clerk, U. S. District Court
           Eastern District of Kentucky
           Post Office Box 3074
           Lexington, KY 40588-3074


 Unless the court has express1 ordered otherwise, if thisjudgment imposes imprisonment, p      r t of criminal monetary penalties is due durin
 imprisonment. All cnminarmonet          penalties, except those payments made throug          e Federal Bureau of Prisons’ Inmate FinanciJ
 Responsibility Program, are made to%e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 0 Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 0 The defendant shall pay the cost of prosecution.
0 The defendant shall pay the following court cost(s):
0 The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4)fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
